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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS




 STATE OF NEW YORK, et al.,

                Plaintiffs,
 v.                                                Civil Action No. 1:25-cv-11221-WGY
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,

                Defendants.




                    NOTICE OF FILING ADMINISTRATIVE RECORD

       Pursuant to the Court’s June 18, 2025 tentative ruling and clarification, the Court’s July

2, 2025 Order, and the Parties’ allowed Joint Motion to Amend the Case Schedule, and upon

conferral with counsel for Plaintiffs and Intervenor, Defendants hereby respectfully notify the

Court of their filing of the administrative records on behalf of the Department of the Interior, the

Environmental Protection Agency, the National Marine Fisheries Service of the Department of

Commerce, and the U.S. Army Corps of Engineers (collectively “Defendants”).

       On January 20, 2025, President Trump issued a Presidential Memorandum entitled,

Temporary Withdrawal of All Areas on the Outer Continental Shelf from Offshore Wind Leasing

and Review of the Federal Government’s Leasing and Permitting Practices for Wind Projects.

90 Fed. Reg. 8363 (Jan. 29, 2025) (“Wind Memo”).

       Plaintiffs and Intervenor challenged a provision in Section 2(a) of the Wind Memo

directing several agencies, led by the Department of the Interior, to “not issue renewed
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approvals, rights of way, permits, leases, or loans for onshore or offshore wind projects” id. at

8363-64 (the “temporary cessation directive” or “wind directive”) until a separate assessment

and review of Federal wind leasing and permitting practices is completed.

       In briefing and at oral argument before the Court, Plaintiffs and Intervenor maintained

that the alleged final agency action they are challenging is a broad decision by the relevant

agencies to temporarily cease issuing new approvals and other authorizations—not the

subsequent downstream application of that alleged decision to specific projects or programs.

E.g., Pls.’ Reply 6, ECF No. 135 (conceding that they do not challenge “the many individual

actions . . . taken to implement the halt,” as they are merely the product “of the final action

challenged here: ‘the decisions by the Agency Defendants to implement broad, categorical

freezes on’ wind-energy approvals”); Interv.’s Reply 7 (challenging only “agency decisions to

adopt the Wind Ban, not decisions on individual wind projects”); Tr. 24, June 18, 2025

(acknowledging that Plaintiffs “are not seeking an adjudication by a date certain for a specific

project” but instead challenging an alleged agency decision to “categorically halt all wind energy

approvals”). They also do not dispute that the assessment and review—which they have not

challenged—is currently underway and is being deliberated by the Department of the Interior

and supporting agencies. E.g., Pls.’ Reply 1 (recognizing that “the assessment is in early

stages”); see also Tr. 27 (acknowledging that Intervenor’s claims seek only to vacate the

temporary cessation directive “without awaiting completion” of the assessment and review).

       During the June 18, 2025, hearing, the Court issued a tentative ruling that would grant in

part and deny in part Defendants’ Motion to Dismiss. The Court “rule[d] that this ‘pause,’ so

denominated, is . . . in fact final agency action.” Tr. 32. But the Court dismissed Defendants

other than the Secretary of the Interior, id., and dismissed all of Plaintiffs’ and Intervenor’s non-



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APA claims, id. at 33. The Court then directed Defendants to file an administrative record that,

according to Plaintiffs, “support[s] the decision to implement the wind directive.” Id. at 35.

         Counsel for Defendants asked the Court to clarify that the administrative record is limited

to the Department of the Interior as the only department remaining in the litigation and the Court

confirmed “[o]nly the Department of Interior because they are the primary department. . . . But,

yes, that’s my understanding.” Tr. 38.

         Based on Defendants’ understanding of the Court’s tentative ruling, on July 2, 2025,

Defendants filed the certifying declaration of Matthew Giacona, Principal Deputy Director of the

Bureau of Ocean Energy Management and accompanying administrative record on behalf of the

Department of the Interior. ECF No. 161.

         The next day, the Court entered its Memorandum and Order granting in part and denying

in part Defendants’ Motion to Dismiss. ECF No. 162. The Court dismissed Plaintiffs’ and

Intervenor’s non-APA claims, including those against the President. Id. at 43-48. The Court

also dismissed the Departments of Agriculture, Energy, and Treasury and their Secretaries. Id. at

30-31.

         Upon conferral with Plaintiffs and Intervenor, and in an effort to resolve administrative

record disputes without the need for motion practice, Defendants agreed to refile the Department

of the Interior’s administrative record and file an administrative record on behalf of the

remaining agency defendants, that is, the Environmental Protection Agency, the National Marine

Fisheries Service, and the U.S. Army Corps of Engineers. The Parties also agreed to amend the

case schedule, which the Court allowed. ECF No. 164.




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       Accordingly, enclosed are the certifying declarations and administrative records

containing the evidence considered, directly or indirectly, by Defendants for the alleged decision

challenged by Plaintiffs and Intervenor in this action.

       Respectfully submitted this 11th day of July, 2025.
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